     Case 2:14-cr-00168-TOR            ECF No. 1445        filed 01/19/16      PageID.7564 Page 1 of 2
PROB 12C                                                                             Report Date: January 19, 2016
(7/93)

                                      United States District Court                                FILED IN THE
                                                                                              U.S. DISTRICT COURT
                                                                                        EASTERN DISTRICT OF WASHINGTON

                                                      for the
                                                                                              1/19/16
                                       Eastern District of Washington                        SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Angel N. Lyons                          Case Number: 2:14CR00168-TOR-19
 Address of Offender:                     Spokane Valley, Washington 99212
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge
 Date of Original Sentence: August 31, 2015
 Original Offense:       Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349
 Original Sentence:      Prison - 5 Days;                  Type of Supervision: Supervised Release
                         TSR - 36 Months
 Asst. U.S. Attorney:    George J.C. Jacobs, III           Date Supervision Commenced: September 6, 2015
 Defense Attorney:       John Stephen Roberts, Jr.         Date Supervision Expires: September 5, 2018


                                         PETITIONING THE COURT

                To incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on 11/03/2015, 11/12/2015 and 01/04/2016.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           18           Mandatory Condition # 2: The defendant shall not commit another Federal, state, or local
                        crime.

                        Supporting Evidence: Angel Lyons violated the conditions of her supervised release in
                        Spokane, Washington, on or about January 16, 2016, by failing to obey all laws. On or
                        about January 16, 2016, Ms. Lyons was arrested by the Spokane Police Department and
                        charged with criminal assistance.
                                          I declare under penalty of perjury that the foregoing is true and correct.
                                                            Executed on:     01/19/2016
                                                                             s/Melissa Hanson
                                                                             Melissa Hanson
                                                                             U.S. Probation Officer
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Re: Lyons, Angel N.
January 19, 2016
Page 2

 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [X ]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [X ]     Defendant to appear before the Magistrate Judge. Initial Appearance set for 1/20/2016 at 1:30 p.m.
 [ ]      Other

                                                                     Signature of Judicial Officer
                                                                     January 19, 2016

                                                                     Date
